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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA,                                        CIVIL ACTION
     Plaintiff

 VERSUS                                                           NO. 12-1924

 CITY OF NEW ORLEANS,                                             SECTION “E”
      Defendant


                                        ORDER

      On March 13, 2023 the Court issued notice of a March 29, 2023 public presentation

at the Loyola New Orleans Law School. The purpose of the presentation was to report to

the public on the City’s and NOPD’s progress toward ensuring that NOPD has the

necessary support and resources to enable it to fulfill its mission under the Consent

Decree as required by paragraph ¶12. The public presentation was intended to be an

opportunity for the City, NOPD, and co-responders to present their progress with respect

to improved recruiting, enhanced alternative police response services, and related

initiatives. This hearing was consistent with the Court’s practice of holding hearings and

proceedings to provide the City the opportunity to present publicly its progress toward

compliance under the Consent Decree and to feature those individuals whose hard work

has contributed to the Department’s achievements.

      This morning, the City, through a letter from counsel and in a statement issued by

the Mayor, notified the Court that the City will not send employees to speak at this

event. The City’s communications asserted that participation in these hearings is not a

Consent Decree requirement.        The Court disagrees.       Public transparency and

accountability are core elements of the Consent Decree that have been recognized and

embraced by the Court, the Monitor, the Department of Justice, and the City.

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Nevertheless, after careful consideration, in light of the City’s refusal to authorize its

personnel to participate, the hearing will be rescheduled for a public court hearing in the

near future.

       The Court expresses its disappointment at the City’s last-minute decision. It is the

Court’s sincere hope that the NOPD continues to commit to providing the support and

resources necessary for it to achieve and sustain compliance under the Consent Decree

and to public transparency. The Court assures the public that it has heard its requests for

transparency and accountability and assures the public that open hearings and meetings

will continue so that it will continue to be informed of the NOPD’s progress toward

Consent Decree compliance.

       The Court thanks Loyola New Orleans Law School for providing a forum for this

event and apologizes for any inconvenience.

       New Orleans, Louisiana, this 28th day of March, 2023.


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                                                   SUSIE MORGAN
                                            UNITED STATES DISTRICT JUDGE




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